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8                        UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA and          Case No. 2:16-cv-04777-MCS-PLA
11   the STATES OF CALIFORNIA,
     COLORADO, CONNECTICUT,                JUDGMENT
12   DELAWARE, DISTRICT OF
13   COLUMBIA, FLORIDA, GEORGIA,
     HAWAII, ILLINOIS, INDIANA,
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     IOWA, LOUISIANA, MARYLAND,
15   MASSACHUSETTS, MICHIGAN,
     MINNESOTA, MONTANA,
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     NEVADA, NEW JERSEY, NEW
17   MEXICO, NEW YORK, NORTH
     CAROLINA, OKLAHOMA, RHODE
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     ISLAND, TENNESSEE, TEXAS,
19   VERMONT, VIRGINIA, and
     WASHINGTON ex rel. ANI
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     GHARIBIAN,
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                      Plaintiff,
22
23              v.
     VALLEY CAMPUS PHARMACY,
24
     INC., D/B/A TNH ADVANCED
25   SPECIALTY PHARMACY,
     DIPLOMAT PHARMACY, INC., and
26
     OPTUMRX, INC.,
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                      Defendants.
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1          Pursuant to this Court’s Order Granting Motion to Dismiss Second Amended
2    Complaint, it is hereby ordered, adjudged, and decreed that judgment is entered on all
3    claims in favor of Defendants VALLEY CAMPUS PHARMACY, INC., D/B/A TNH
4    ADVANCED SPECIALTY PHARMACY, DIPLOMAT PHARMACY, INC., and
5    OPTUMRX, INC., and against Plaintiffs UNITED STATES OF AMERICA and the
6    STATES OF CALIFORNIA, COLORADO, CONNECTICUT, DELAWARE,
7    DISTRICT OF COLUMBIA, FLORIDA, GEORGIA, HAWAII, ILLINOIS,
8    INDIANA, IOWA, LOUISIANA, MARYLAND, MASSACHUSETTS, MICHIGAN,
9    MINNESOTA, MONTANA, NEVADA, NEW JERSEY, NEW MEXICO, NEW
10   YORK, NORTH CAROLINA, OKLAHOMA, RHODE ISLAND, TENNESSEE,
11   TEXAS, VERMONT, VIRGINIA, and WASHINGTON ex rel. ANI GHARIBIAN.
12   The action is dismissed with prejudice.
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14   IT IS SO ORDERED.
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16   Dated: October 12, 2021
17                                                 MARK C. SCARSI
                                                   UNITED STATES DISTRICT JUDGE
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